

Ben Jacobson Painting v Argo Real Estate LLC (2025 NY Slip Op 01858)





Ben Jacobson Painting v Argo Real Estate LLC


2025 NY Slip Op 01858


Decided on March 27, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 27, 2025

Before: Moulton, J.P., Gesmer, Scarpulla, Rosado, Michael, JJ. 


Index No. 651074/23|Appeal No. 3988|Case No. 2024-03128|

[*1]Ben Jacobson Painting, Plaintiff-Appellant,
vArgo Real Estate LLC, et al., Defendants-Respondents.


Clifford Law Firm, P.C., New York (Nancy Clifford of counsel), for appellant.
O'Sullivan &amp; Zacchea, PLLC, Astoria (Kevin M. O'Sullivan of counsel), for respondents.



Order, Supreme Court, New York County (Lyle E. Frank, J.), entered on or about April 17, 2024, which, to the extent appealable and as limited by the briefs, denied plaintiff 's motion pursuant to CPLR 3404 to restore the matter to the inquest calendar, unanimously reversed, on the law, without costs, the motion granted, and the matter restored to the calendar.
The court should have granted plaintiff's motion to restore, because the motion was made within one year from the case being marked off the calendar, and plaintiff was not required to rebut any presumption of abandonment (see Johnson v Rivera , 10 AD3d 288, 288-289 [1st Dept 2004]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 27, 2025








